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                                                                                    FILED
                                                                         UNITED STATES DISTRICT COURT
                                                                              DENVER, COLORADO
                                                                                  3:53 pm, Jul 17, 2018
                                                                           JEFFREY P. COLWELL, CLERK
                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Criminal Case No.      18-cr-00331-GPG

  UNITED STATES OF AMERICA,

          Plaintiff,

  v.

  RICARDO DANIEL-ZEFERINO,
  A.K.A. Juan Carlos Delacruz, Juan Carlos Serrano,

          Defendant.


                                          INDICTMENT
                                    8 U.S.C. ' 1326(a), (b)(1)
                               Illegal Re-entry After Deportation


          The Grand Jury charges:

                                             COUNT 1


          On or about June 25, 2018, in the State and District of Colorado, the defendant,

       RICARDO DANIEL-ZEFERINO, an alien, was found in the United States after

       having been denied admission, excluded, deported, and removed from the United

       States on or about April 25, 2015, and without the express consent of the proper

       legal authority to reapply for admission to the United States. All in violation of Title

       8, United States Code, Section 1326(a).
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                           NOTICE OF ENHANCED PENALTY

        The defendant is subject to the enhanced penalty under Title 8, United States

  Code, Section 1326(b)(1) because his denial of admission, exclusion, deportation and

  removal was subsequent to a conviction for a felony offense.


                                          A TRUE BILL

                                          s/ Ink signature on file in Clerk's Office
                                          FOREPERSON


  ROBERT C. TROYER
  United States Attorney


  By: s/ Pete Hautzinger
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